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                                      #:752



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 6   Counsel for Plaintiffs and the Settlement Class
 7
 8                 UNITED STATES DISTRICT COURT FOR THE
 9                     CENTRAL DISTRICT OF CALIFORNIA
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     TESSIBLE “SKYLER” FOSTER;                 2:23−cv−07441−AB−PVC
12
     MARIE SCOTT; and KRISTA
13   BAUMBACH                                   PLAINTIFFS’ NOTICE OF
                                                UNOPPOSED MOTION FOR
14                                              APPROVAL OF ATTORNEYS’
15               PLAINTIFFS,                    FEES, EXPENSES, AND
     V.                                         INCENTIVE AWARDS
16
     800-FLOWERS, INC., D/B/A 1-800-
17   FLOWERS.COM, HARRY & DAVID, Judge: Hon. André Birotte, Jr.
     PERSONALIZATION MALL,           Date: January 31, 2025 at 1:30 p.m.
18
     SHARI’S BERRIES, 1-800-
19
     BASKETS.COM, SIMPLY
20   CHOCOLATE, FRUIT
21   BOUQUETS.COM, CHERYL’S
     COOKIES, THE POPCORN
22   FACTORY, WOLFERMAN’S
23   BAKERY, AND VITAL CHOICE,
24
25               DEFENDANT.
26
27
28

                                   NOTICE OF MOTION
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                                          #:753



 1
           TO 800-FLOWERS, INC., AND ITS COUNSEL OF RECORD:
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 3          PLEASE TAKE NOTICE that on Friday January 31, 2025 at 1:30 p.m., or as
 4   soon thereafter as this matter may be heard in the United States District Court for
 5
 6   the Central District of California, 350 West First Street, Los Angeles, CA 90012,

 7   Courtroom 7B, Plaintiffs Tessible “Skyler” Foster, Marie Scott, and Krista
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     Baumbach (“Plaintiffs”), on behalf of themselves and all others similarly situated,
 9
10   by and through their counsel of record, will and hereby do move on an unopposed
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     basis, on agreement of the Parties, for the approval of attorneys’ fees, expenses, and
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13   incentive awards for the named plaintiffs. The motion will be based on this Notice
14   of Motion, the Motion, the Memorandum of Points and Authorities, Declaration and
15
     Exhibits filed herewith, the pleading and papers filed in this action, as well as any
16
17   further documentation submitted to the Court and oral argument of counsel.
18
           L.R. 7-3 Conference Statement:          This Motion is made following the
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20   conference of counsel, which took place on July 24, 2024 and thereafter and is
21   unopposed.
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                                       #:754



 1
 2   Dated: December 2, 2024           Respectfully submitted,
 3                                     HEDIN LLP
 4                                     By: s/ Frank S. Hedin         .
                                       FRANK S. HEDIN (SBN 291289)
 5
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 7                                     Telephone: (305) 357-2107
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 9                                     Counsel for Plaintiffs and
10                                     the Settlement Class
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